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                                EXHIBIT A: INSURANCE POLICIES


Fireman’s Fund Insurance Company (An Allianz Company)
Policy No. USC010400200
Property Insurance

Chubb Insurance Company Of New Jersey
Policy No. 7819-25-91
Commercial Umbrella Insurance

Chubb Insurance Company Of New Jersey
Policy No. (20) 9949-99-79
Business Auto Insurance

Chubb Insurance Company Of New Jersey
Policy No. 3603-87-65 EUC
Commercial General Liability Insurance

Chubb Insurance Company Of New Jersey
Policy No. 8255-5284
Primary Insurance: Directors and Officers, Employment Practices, Fiduciary Liability, Crime,
Kidnapping Ransom and Extortion

Great Northern Insurance Company
Policy No. 9950-35-95 PHL
International Commercial Insurance

ACE American Insurance Company
Policy No. PPL G24870388 014
Premises Pollution Liability Insurance

XL Specialty Insurance Company
Policy No. ELU172175-20
Excess Criminal Liability Insurance

XL Specialty Insurance Company
Policy No. ELU172149-20
Excess D&O Insurance

Insurance Company Of The West
Policy No. WPH-5038375-03
Worker’s Compensation and Employers Liability Insurance




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